Case 3:25-cr-00070-HES-PDB    Document 18    Filed 04/08/25   Page 1 of 3 PageID 94




                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION


 UNITED STATES OF AMERICA

 vs.                                          CASE NO. 3:23-cr-180-HES-SJH
                                                        3:25-cr-70-HES-PDB

 NOAH MICHAEL URBAN
                                    /


         ACCEPTANCE OF PLEA OF GUILTY.ADJUDICATION
             OF GUILT. AND NOTICE OF SENTENCING

       The Court adopts the Report and Recommendation Concerning Plea of

 Guilty entered by United States Magistrate Samuel J. Horovitz (Doc. 67 in

 3:23crl80-HES-SJH and Doc. 16 in 3:25cr70-HES-PDB) to which the parties

 waived the fourteen (14) day objection period. No objections have been filed as

 of the date of this Order; therefore, the Court accepts the Defendant's plea of

 guilty to Counts One, Nine, and Fourteen of the Indictment as to Case No.

 3:23-cr-180-HES-SJH and Count One of the Indictment as to Case No. 3:25-cr-


 70-HES-LLL, and the Defendant is adjudged guilty of such offenses. In

 accordance with United States v. Hyde, 520 U.S. 670 (1997), the Court defers

 consideration of accepting the plea agreement until the Pre-Sentence Report is

 completed.

       SENTENCING is hereby scheduled for Wednesday,August 20, 2025,

 at 10:00 am, before the Honorable Harvey E. Schlesinger, United States
Case 3:25-cr-00070-HES-PDB   Document 18      Filed 04/08/25   Page 2 of 3 PageID 95




 District Judge, in Courtroom IOC, 10^^ Floor, United States Courthouse, 300

 North Hogan Street, Jacksonville, Florida.

      IN ACCORDANCE WITH LOCAL RULE 4.12, WITHIN 14 DAYS OF

 RECEIVING      THE PRESENTENCE            REPORT, COUNSEL (OR               THE

 DEFENDANT IF ACTING PRO SE)SHALL COMMUNICATE IN WRITING

 TO   THE      PROBATION     OFFICER.      AND     TO   EACH      OTHER. ANY

 OBJECTIONS THEY HAVE TO THE FACTUAL STATEMENTS AND

 GUIDELINE CALCULATIONS CONTAINED IN OR OMITTED FROM THE


 REPORT.


      IF THE PARTIES WANT THE COURT TO CONSIDER ANY WRITTEN

 MATERIAL       OTHER   THAN     THE    PRESENTENCE            INVESTIGATION

 REPORT, IT MUST BE SUBMITTED NO LATER THAN NOON ON

 Monday. August       11. 2025.      COUNSEL          SHALL      NOTIFY      THE

 COURTROOM DEPUTY,AS SOON AS POSSIBLE,IF THEY BELIEVE

 THE SENTENCING HEARING WILL BE LONGER THAN 45 MINUTES.


      DONE AND ORDERED at Jacksonville, Florida, this ^5^ day of
April, 2025.



                                                   —///
                                           VEY e.^shcMTei^nger
                                     nited Sta^^^ District Judge
Case 3:25-cr-00070-HES-PDB   Document 18   Filed 04/08/25   Page 3 of 3 PageID 96




 Copy to:   John Cannizzaro, Esq.
            Kathryn Sheldon, Esq.
            U.S. Marshal
            U.S. Probation
